              9:23-cr-00394-RMG                      Date Filed 05/25/23          Entry Number 17         Page 1 of 4



i\O 199/\ ( Rev 12/11) Order Setting Conditions of Release                                                     Page I of __:!__   Pages



                                          UNITED STATES DISTRICT COURT
                                                                      for the
                                                             District of South Carolina


                     United States of America                             )
                                     V.                                   )
                                                                          )        Case No. 9:23-CR-394
                      Cory Howerton Fleming                               )
                                Defendant                                 )

                                          ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

( 1)   The defendant must not violate federal. state, or local law while on release.

(2)    The defendant must cooperate in the collection ofa DNA sample ifit is authorized by 42 U.S.C. § 14135a.

(3)    The defendant must advise the court or the pretrial services office or supervising officer in writing before making
       any change of residence or telephone number.

( 4)   The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence t at
       the court may impose.

       The defendant must appear at:
                                                                                          Place




       on
                                                                         Date and Time


       If blank. defendant will be notified of next appearance.

(5)    The defendant must sign an Appearance Bond, if ordered.
                 9:23-cr-00394-RMG                               Date Filed 05/25/23                            Entry Number 17                            Page 2 of 4




AO 199B (Rev. 10/20) Additional Conditions of Release                                                                                                                  Page _2- of ~ Pag, s


                                                          ADDITIONAL CONDITIONS OF RELEASE
                                                                                                                                                                                                       I

    Pursuant to 18 U.S.C. § 3142(c)(l)(B), the court may impose the following least restrictive condition(s) only as necessary to reasonably assure be                                                 1




                              appearance of the person as required and the safety of any other person and the community,

       IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:

( D)    (6) The defendant is placed in the custody of:
            Person or organization
            Address (only if above is an organization)
            City and state _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                              Tel. N o . - - - - - - - - - - - + - - + - -
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant's appearance at all court proceedings, and (c) notify tl e pourt
immediately if the defendant violates a condition ofrelease or is no longer in the custodian's custody.


                                                                                                                             Custodian                                                   Date
( D ) (7)    The defendant must:
       (~) (a) submit to supervision by and report for supervision to the -                US Probation Office
                                                                                             -------------------
                                                                                                                                                  ,
                 telephone number        843-579-1500                , no later than as directed
       (IX)) (b) continue or actively seek employment.
       ( D) (c) continue or start an education program.
       (~) (d) surrender any passport to:        _a_U_S--,-P_ro_b_a_ti_o_n_O_ffi_1c_e_r_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _--t--+--
       (i]) (e) not obtain a passport or other international travel document.
       (IX)) (t) abide by the following restrictions on personal association, residence, or travel:            Travel restricted to South Carolina, except with
                 permission of the US Probation Officer
       (~) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                 including:

       (D ) (h) get medical or psychiatric treatment:                       as directed by USPO. The defendant shall contribute to the costs of such treatment not to exceed an amount determin, d
                  reasonable br_t~~u_~P_proved 'U.S. Pr_o_bation Office's Sliding_ Scale for Services,' and shall_ cooperate in securing any applica_ble thildi)arty payment, such as insurance or~ edibaid.

       (□) (i) return to custody each _ _ _ _ _ at ____ o'clock after being released at _ _ _ _ _ o'clock for employment, schoolm~,
                   or the following purposes:

       (□) G) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer consi, er~
              necessary.
       (~) (k) not possess a firearm, destructive device, or other weapon.
       <Ell) (1) not use alcohol ( D ) at all ( ~ ) excessively.
       ((f) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a ice nsed
                   medical practitioner.
       ( D) (n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be wed with
               random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any ro1m of
               prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and f~C rracy
               of prohibited substance screening or testing.
       (~) (o) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services clffi e or
               supervising officer.
       (□) (p) participate in one of the following location restriction programs and comply with its requirements as directed.
               ( D ) (i) Curfew. You are restricted to your residence every day ( D ) from _ _ _ _ _ to _ _ _ _ , or ( D ) i~
                            directed by fue pretrial services office or supervising officer; or
               ( D) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious s~r rices;
                           medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; pr pfuer
                           activities approved in advance by fue pretrial services office or supervising officer; or
               ( D ) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities                                                      ~a
                           court appearances or oilier activities specifically approved by the court; or
               ( D ) (iv) Stand Alone Monitoring. You have no residential curfew, home detention, or home incarceration restrictions. Howevei,
                           you must comply with fue location or travel restrictions as imposed by the court.
                           Note: Stand Alone Monitoring should be used in conjunction wifu global positioning system (GPS) technology.
       (□) (q) submit to fue following location monitoring technology and comply with its requirements as directed:




                                                                                        -- - - - - - - - - - - -                    -------------------
  9:23-cr-00394-RMG                         Date Filed 05/25/23           Entry Number 17                 Page 3 of 4




                                                                                                                      Page L of~Pag s

                                    ADDITIONAL CONDITIONS OF RELEASE
    (0 ) (i)   Location monitoring technology as directed by the pretrial services or supervising officer; or
    (0 ) (ii)  Voice Recognition; or
    (0 ) (iii) Radio Frequency; or
    (0) (iv) GPS.
(r) pay all or part of the cost oflocation monitoring based upon your ability to pay as determined by the pretrial services or supervisil g
    officer.
(s) report as soon as possible, to the pretrial services or supervising officer, every contact with law enforcement personnel, including mests,
    questioning, or traffic stops.
(t) Remain under supervision of the US Probation Officer for the duration of the bond and follow any and all instructions given by the
    officer. Stay in touch with attorney.
             9:23-cr-00394-RMG                  Date Filed 05/25/23               Entry Number 17                       Page 4 of 4



AO 199C (Rev 09i08) Advice of Penalucs                                                                          Page 4           of   4   Page·

                                          ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF TIIE FOLLOWING PENALTIES AND SANCTIONS:

       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release. an order of detention. a forfeiture of any bond, and a prosecution for contempt of court and could resul in
imprisonment, a tine, or both,
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten ye rs
and for a federal misdemeanor offense the punishment is an additional prison tenn of not more than one year. This sentence will be
consecutive (i,e., in addition to) to any other sentence you receive,
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or atte pt
to intimidate a witness, vil:tim, juror. informant. or officer of the court The penalties for tampering, retaliation, or intimidation re
significantly more serious if they involve a killing or attempted killing,
       11: after release. you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence.
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed, If you arc convicted of:
       ( l) an offense punishable by death, life imprisonment. or imprisonment for a term of fifteen years or more - you will be fin d
             not more than $250,000 or imprisoned for not more than IO years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more. but less than fifteen years -you will be fined n t
             more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony - you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor - you will be fined not more than$ 100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive, In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                  Acknowledgment of the Defendant

                                                                                                    or
      l acknowledge that I am the defendant in this case and that I am aware of the conditions release, I promise to obey all conditi n
ofrelease, to appear as directed, and surrender to serve any sentence imposed, I am aware of the penalties and sanctions set forth abo e




                                                                                         Charleston, SC
                                                                                               City and State



                                               Directions to the United States Marshal

        The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendan
        has posted bond and/or complied with all other conditions for release. rr still in custody, the defendant must be produced befor
        the appropriate judge at the time and place specified,


            May 25, 2023
Date:
                                                                                        Judicial O/Jicer 's Signature

                                                                               Molly IL Cherry, United States Magistrate Judge

                                                                                           Printed name and title




        DISTRIBUTION:         COURT         DEFENDANT            PRETRIAL SERVICE              U.S. ATTORNEY               U,S, MARSHAL
